USCA Case #23-3190    Document #2033815           Filed: 12/31/2023   Page 1 of 24



                       ARGUED ON NOV. 20, 2023
                                 No. 23-3190

                                     In the
                United States Court of Appeals
                  for the District of Columbia Circuit
                              ____________________

                     UNITED STATES OF AMERICA
                                  v.
                         DONALD J. TRUMP,
                                    Defendant
                         ____________________
    ON APPEAL FROM THE UNITED STATES DISTRICT COURT
             FOR THE DISTRICT OF COLUMBIA
             District Court No. 23-cr-257 (Chutkan, J.)
                                 ______________

                RESPONSE FOR THE UNITED STATES
                  IN OPPOSITION TO REHEARING
                                 _____________

 J.P. COONEY                             JACK SMITH
 Deputy Special Counsel                  Special Counsel

 MICHAEL R. DREEBEN                      MOLLY GASTON
 RAYMOND N. HULSER                       THOMAS P. WINDOM
 Counselors to the Special Counsel       Senior Assistant Special Counsels

 JAMES I. PEARCE                         CECIL W. VANDEVENDER
 JOHN M. PELLETTIERI                     Assistant Special Counsel
 Assistant Special Counsels              U.S. Department of Justice
                                         950 Pennsylvania Ave., N.W.
                                         Rm. B-206
                                         Washington, D.C. 20530
USCA Case #23-3190             Document #2033815                     Filed: 12/31/2023           Page 2 of 24



                                    TABLE OF CONTENTS

TABLE OF AUTHORITIES ........................................................................ ii

GLOSSARY OF ABBREVIATIONS........................................................... iv

INTRODUCTION ....................................................................................... 1

BACKGROUND.......................................................................................... 2

        I.      The Defendant’s Extrajudicial Statements. .................................. 2

        II.     The Order Under Review ............................................................ 3

ARGUMENT ............................................................................................... 8

        I.      Rehearing En Banc Is Unwarranted ............................................ 8

                A.      The Court’s decision does not conflict with Brown or
                        Ford. .................................................................................. 9

                B.      The Court’s decision does not conflict with First
                        Amendment cases drawn from unrelated contexts. ........... 13

                C.      The Court’s assessment of the factual record does not
                        warrant further review. .................................................... 15

        II.     Panel Rehearing Is Unwarranted ............................................... 16

CONCLUSION .......................................................................................... 18

CERTIFICATE OF COMPLIANCE .......................................................... 19




                                                       i
USCA Case #23-3190             Document #2033815                  Filed: 12/31/2023        Page 3 of 24



                                 TABLE OF AUTHORITIES

Cases

Gentile v. State Bar of Nevada,
  501 U.S. 1030 (1991) ................................................................................. 9

In re Long-Distance Tel. Serv. Fed. Excise Tax Refund Litig.,
    751 F.3d 629 (D.C. Cir. 2014) ..................................................................... 9

Landmark Commc’ns, Inc. v. Virginia,
  435 U.S. 829 (1978) ............................................................................. 6, 11

Pennekamp v. Florida,
  328 U.S. 331 (1946) ................................................................................... 6

Sheppard v. Maxwell,
   384 U.S. 333 (1966) ................................................................................. 14

Snyder v. Phelps,
   562 U.S. 443 (2011) ................................................................................. 13

United States v. Brown,
  218 F.3d 415 (5th Cir. 2000) ...................................................... 9, 10, 11, 12

United States v. Ford,
  830 F.2d 596 (6th Cir. 1987) ...................................................... 9, 10, 11, 12

United States v. Koubriti,
  307 F. Supp. 2d 891 (E.D. Mich. 2004) ...................................................... 10

United States v. Trump,
  -- F.4th --, 2023 WL 8813752 (D.C. Cir. Dec. 8, 2023) ... 1, 2, 3, 4, 5, 6, 7, 8, 9,
  10, 11, 12, 13, 14, 15, 16, 17




                                                    ii
USCA Case #23-3190              Document #2033815                  Filed: 12/31/2023          Page 4 of 24



Rules

Fed. R. App. P. 35(a) ...................................................................................... 9

Fed. R. App. P. 40(a)(2) ................................................................................ 16




                                                     iii
USCA Case #23-3190    Document #2033815       Filed: 12/31/2023   Page 5 of 24



                     GLOSSARY OF ABBREVIATIONS

JA              Joint Appendix

Pet.            Appellant’s Petition for Rehearing

SA              Government’s Supplemental Appendix




                                    iv
USCA Case #23-3190      Document #2033815          Filed: 12/31/2023    Page 6 of 24



                               INTRODUCTION

      The defendant, Donald J. Trump, has “repeatedly attacked those involved

in this case through threatening public statements, as well as messaging daggered

at likely witnesses and their testimony.” United States v. Trump, -- F.4th --, 2023

WL 8813752, at *13 (D.C. Cir. Dec. 8, 2023). Recognizing that such attacks

threaten the fairness and integrity of these proceedings, the district court issued

an Order “restraining the parties and their counsel from making public

statements that ‘target’ the parties, counsel and their staffs, court personnel, and

‘any reasonably foreseeable witness or the substance of their testimony.’” Id. at

*1 (quoting Order at 3). This Court affirmed the decision to issue the Order but

narrowed its scope “to maximize the amount of protected speech allowed while

still averting the substantive evil of unfair administration of justice.” Id. at *20

(quotations omitted).    As modified, the Order restricts certain attacks on

witnesses and trial participants, while leaving the defendant “free to make

statements criticizing the current administration, the Department of Justice, and

the Special Counsel, as well as statements that this prosecution is politically

motivated or that he is innocent of the charges against him.” Id. at *29.

      The Court’s decision adheres to Supreme Court precedent and does not

conflict with decisions from its sister circuits. Nor does it overlook any material

points of fact or law. The rehearing petition should be denied.



                                         1
USCA Case #23-3190      Document #2033815         Filed: 12/31/2023   Page 7 of 24



                               BACKGROUND

I.    The Defendant’s Extrajudicial Statements.

      This case stems from the defendant’s efforts to overturn the results of the

2020 presidential election and prevent the lawful transfer of power to his

successor. On August 1, 2023, a grand jury charged the defendant in a four-

count indictment, JA.20-64, and the district court has scheduled trial to begin

on March 4, 2024, SA.157.

      From the outset, the defendant has used social media to make prejudicial

comments about the case and its participants. Three days after the indictment,

and one day after his initial appearance, he issued the public threat, “IF YOU

GO AFTER ME, I’M COMING AFTER YOU!”, Trump, 2023 WL 8813752,

at *3, and then followed through on that threat with statements attacking the

district court; the Special Counsel, his family members, and his staff; and trial

witnesses who were expected to offer inculpatory testimony against him, id. at

*3, *13. Such attacks follow a pattern stretching back years, in which the

defendant has publicly targeted state and federal officials, judges, and poll

workers who resisted his efforts to overturn the results of the 2020 election. Id.

at *13-*14. Similar attacks continue to this day in other pending cases involving

the defendant. Id.




                                        2
USCA Case #23-3190        Document #2033815           Filed: 12/31/2023     Page 8 of 24



      The defendant “recognizes the power of his words and their effect on his

audience, agreeing that his supporters ‘listen to [him] like no one else.” Id. at

*14. Unsurprisingly, then, his attacks have had “real-time, real-world

consequences,” exposing “those on the receiving end” to “a torrent of threats

and intimidation” and turning their lives “upside down.” Id. at *13-*15.

II.   The Order Under Review

      The district court found that the defendant’s public attacks “pose a

significant and immediate risk that (1) witnesses will be intimidated or otherwise

unduly influenced by the prospect of being themselves targeted for harassment

or threats; and (2) attorneys, public servants, and other court staff will

themselves become targets for threats and harassment.” JA.230. Because no

“alternative means” could adequately address these “grave threats to the

integrity of these proceedings,” the court prohibited the parties and their counsel

from making public statements that “target (1) the Special Counsel prosecuting

this case or his staff; (2) defense counsel or their staff; (3) any of this court’s staff

or other supporting personnel; or (4) any reasonably foreseeable witness or the

substance of their testimony.” JA.231.

        This Court affirmed in part and vacated in part. The Court recognized

that the Order “involves the confluence of two paramount constitutional

interests: the freedom of speech guaranteed by the First Amendment and the



                                           3
USCA Case #23-3190      Document #2033815           Filed: 12/31/2023   Page 9 of 24



federal courts’ vital Article III duty to ensure the fair and orderly administration

of justice in criminal cases.” Trump, 2023 WL 8813752, at *1. Balancing these

interests, the Court explained, required consideration of three related questions:

“(1) whether the Order is justified by a sufficiently serious risk of prejudice to an

ongoing judicial proceeding; (2) whether less restrictive alternatives would

adequately address that risk; and (3) whether the Order is narrowly tailored,

including whether the Order effectively addresses the potential prejudice.” Id.

at *10.

      1. As to the first question, the Court “assume[d] without deciding that the

most demanding scrutiny applies to the district court’s speech-restricting Order,

and that only a significant and imminent threat to the administration of criminal

justice will support restricting [the defendant]’s speech.” Id. at *11. Applying

that standard, the Court concluded that the defendant’s “documented pattern of

speech and its demonstrated real-time, real-world consequences pose a

significant and imminent threat to the functioning of the criminal trial process

in this case in two respects.” Id. at *15. “First, [the defendant]’s messages about

known or reasonably foreseeable witnesses that concern their potential

participation in the criminal proceeding pose a significant and imminent threat

to individuals’ willingness to participate fully and candidly in the process, to the

content of their testimony and evidence, and to the trial’s essential truth-finding


                                         4
USCA Case #23-3190       Document #2033815           Filed: 12/31/2023    Page 10 of 24



function.” Id. “Second, certain speech about counsel and staff working on the

case poses a significant and imminent risk of impeding the adjudication of this

case.” Id. at *16. The record therefore supplied “a sufficient predicate for the

district court to have imposed some limitation on trial participants’ speech.” Id.

at *18.

      2. The Court next concluded that “[n]o less-speech-restrictive alternative

could viably protect against the imminent threat to the participation of

witnesses, trial participants, and staff in this criminal matter, or the full, fair, and

unobstructed receipt of relevant evidence.” Id. at *19. The district court “tried

a less restrictive approach first,” by “caution[ing] the parties and counsel against

speech that would prejudice the trial process and s[eeking] their voluntary

compliance.” Id. “That warning was not heeded, necessitating a more direct

measure.”     Id.   The district court also considered other alternatives, but

reasonably found that “none was a viable option to respond to the nature and

character of the harm posed in this case.” Id. at *19-*20.

      3. The Court next concluded that “[w]hile the district court had the

authority to issue an order restraining trial participants’ speech, and no less

restrictive alternative would suffice, the Order is not narrowly tailored to

maximize the amount of protected speech allowed while still averting the

‘substantive evil of unfair administration of justice[.]’” Id. at *20 (quoting


                                           5
USCA Case #23-3190      Document #2033815          Filed: 12/31/2023   Page 11 of 24



Landmark Commc’ns, Inc. v. Virginia, 435 U.S. 829, 844 (1978)). The Court

therefore modified the Order in two respects.

      First, the Court found that the “ban on speech that ‘targets’ witnesses and

trial personnel reaches too far,” id. at *21, and must instead “focus more directly

and narrowly on comments that speak to or are about those persons’ potential

participation in the investigation or in this criminal proceeding,” id. at *23. That

modified restriction “allows the [defendant] to continue to speak out about those

same persons’ books, articles, editorials, interviews, or political campaigns as

long as he does so in a manner that does not concern their roles as witnesses or

the content of any expected testimony,” id., while also reinforcing the bail

condition—which the defendant has conceded is permissible—forbidding

communication with known witnesses outside the presence of counsel, id. By

“requiring a nexus between [the defendant]’s speech and a witness’s potential

participation in the criminal proceeding,” the Court “afford[ed] ‘freedom of

discussion * * * the widest range’ that is ‘compatible with the essential

requirement of the fair and orderly administration of justice.’” Id. at *24

(quoting Pennekamp v. Florida, 328 U.S. 331, 347 (1946)).

      Second, the Court found that the portion of the Order restricting attacks

on “counsel and staff working on the case . . . require[d] some recalibration to

sufficiently accommodate free speech.” Id. at *26. The Court recognized that


                                         6
USCA Case #23-3190     Document #2033815           Filed: 12/31/2023   Page 12 of 24



“[s]ome statements concerning counsel or staff working on this case, or their

family members, are highly likely to trigger a barrage of threats, intimidation, or

harassment that pose an imminent risk of materially interfering with the work

of counsel and court personnel as they labor to fairly and orderly adjudicate this

complex criminal proceeding.” Id.       At the same time, the Court noted that

“speech about the criminal justice system is vital” and any order should permit

defendants to “comment[], within reasonable grounds, on prosecutors’ use of

their power.” Id. Given the role of the Special Counsel, in particular, as “a high-

ranking government official who exercises ultimate control over the conduct of

this prosecution,” the Court found that “the Order should not have restricted

speech about the Special Counsel himself.” Id. at *27. “As for other counsel in

this case and the court’s and counsel’s staff,” the Court held “that adding a mens

rea requirement will appropriately balance the court’s institutional interests and

the free speech values at stake.” Id.

      In sum, the Court “affirm[ed] the Order to the extent it prohibits all parties

and their counsel from making or directing others to make public statements

about known or reasonably foreseeable witnesses concerning their potential

participation in the investigation or in this criminal proceeding.” Id. at *28. The

Court also affirmed the Order “to the extent it prohibits all parties and their

counsel from making or directing others to make public statements about—


                                         7
USCA Case #23-3190      Document #2033815          Filed: 12/31/2023   Page 13 of 24



(1) counsel in the case other than the Special Counsel, (2) members of the court’s

staff and counsel’s staffs, or (3) the family members of any counsel or staff

member—if those statements are made with the intent to materially interfere

with, or to cause others to materially interfere with, counsel’s or staff’s work in

this criminal case, or with the knowledge that such interference is highly likely

to result.” Id. The Court “vacate[d] the Order to the extent it covers speech

beyond those specified categories,” and clarified that it “also leaves open the

categories of speech the district court explicitly stated were permissible under its

initial ruling.” Id. at *28-*29. The Court did “not allow such an order lightly,”

given that the defendant “is a former President and current candidate for the

presidency, and there is a strong public interest in what he has to say.” Id. at

*29. But because he “is also an indicted criminal defendant,” “the rule of law”

requires that he “stand trial in a courtroom under the same procedures that

govern all other criminal defendants.” Id.

                                  ARGUMENT

      The defendant petitions for rehearing en banc and panel rehearing.

Neither is warranted.

      I. Rehearing En Banc Is Unwarranted

      Rehearing en banc “is not favored and ordinarily will not be ordered

unless: (1) en banc consideration is necessary to secure or maintain uniformity



                                         8
USCA Case #23-3190      Document #2033815          Filed: 12/31/2023    Page 14 of 24



of the court’s decisions; or (2) the proceeding involves a question of exceptional

importance.” Fed. R. App. P. 35(a); see In re Long-Distance Tel. Serv. Fed. Excise

Tax Refund Litig., 751 F.3d 629, 636 (D.C. Cir. 2014). The petition fails to meet

either requirement.

      A.     The Court’s decision does not conflict with Brown or Ford.

      The defendant argues that the Court’s decision conflicts with the Fifth

Circuit’s decision in United States v. Brown, 218 F.3d 415 (5th Cir. 2000), and the

Sixth Circuit’s decision in United States v. Ford, 830 F.2d 596, 598 (6th Cir. 1987),

in two respects. First, he contends (Pet. 3-6) that the Court’s decision creates a

circuit split regarding the appropriate legal standard for restricting the

extrajudicial speech of criminal defendants. Second, he contends (Pet. 6-8) that

the Court’s decision “conflicts with Brown and Ford . . . in practical outcome.”

Neither claim has merit or warrants further review.

      1. In Gentile v. State Bar of Nevada, 501 U.S. 1030 (1991), the Supreme

Court held “that the First Amendment allows a court to prohibit the speech of a

trial participant when the speech poses a ‘substantial likelihood of material

prejudice’ to an adjudicative proceeding.” Trump, 2023 WL 8813752, at *9

(quoting Gentile, 501 U.S. at 1075). Although Gentile involved speech by a

defense attorney, the Fifth Circuit later held that the same standard applies to

speech by a criminal defendant. Brown, 218 F.3d at 427-28. In doing so, Brown


                                         9
USCA Case #23-3190     Document #2033815         Filed: 12/31/2023   Page 15 of 24



disagreed, id. at 427, with the Sixth Circuit’s pre-Gentile decision in Ford, 830

F.2d at 600-02. It is doubtful, however, that Ford remains good law following

Gentile. See United States v. Koubriti, 307 F. Supp. 2d 891, 898-99 (E.D. Mich.

2004).

      On appeal the parties “vigorously contest[ed],” Trump, 2023 WL

8813752, at *11, whether the Gentile standard should apply only to defense

attorneys, as the defendant contended, or also to the speech of a criminal

defendant, as the Government maintained. Rather than resolve this dispute, the

Court “assume[d] without deciding” that more demanding scrutiny applies. Id.

By declining to decide the issue, the Court avoided creating a conflict with

Brown. Because the record supported the issuance of the Order even under a

higher standard, rehearing is unwarranted to determine whether the Gentile

standard might apply—a question that a future panel can address if it arises in

an outcome-determinative posture.

      Rehearing is likewise unwarranted to address any purported conflict

between the Court’s standard and Ford. The defendant has insisted that the

Court apply the “clear and present danger” standard. See Trump, 2023 WL

8813752, at *11. But “the Supreme Court has said explicitly that ‘clear and

present danger’ is not a proper ‘formula for adjudicating cases.’” Id. at *12

(quoting Landmark Commc’ns, Inc., 435 U.S. at 842). “Instead, the Supreme


                                       10
USCA Case #23-3190      Document #2033815          Filed: 12/31/2023   Page 16 of 24



Court has instructed that what ‘clear and present danger’ translates to in practice

is that courts must analyze whether any compelling interest justifies an

appropriately limited speech restriction.” Id. As applied here, “clear and present

danger” translates to a requirement that “only a significant and imminent threat

to the administration of criminal justice will support restricting [the defendant]’s

speech.” Id. at *11.

      That standard does not meaningfully conflict with Ford, to the extent that

Ford remains good law. Indeed, Ford explained that, to “meet the clear and

present danger standard in the context of a restraint on a defendant in a criminal

trial,” there must be a “serious and imminent threat of a specific nature.” Ford,

830 F.2d at 600 (quotations omitted). The difference, if any, between the

“significant and imminent” test applied by this Court and the “serious and

imminent” test applied by Ford does not warrant en banc review.

      2. Nor is there merit to the defendant’s contention that the Court’s

decision “conflicts with Brown and Ford . . . in practical outcome.” Pet. 6. Brown

affirmed the issuance of a speech-restricting order as a “reasoned and reasonable

decision” that was permissibly designed as a “prophylactic attempt” to avoid

prejudice to the upcoming trials. Brown, 218 F.3d at 431. And while the district

court there “chose to suspend its order for the roughly seven weeks leading up

to the general election to facilitate Brown’s campaigning,” nothing in Brown


                                        11
USCA Case #23-3190     Document #2033815           Filed: 12/31/2023   Page 17 of 24



purports to require such a measure—which is unsurprising, given that the

temporary suspension backfired. Trump, 2023 WL 8813752, at *20. Narrow

tailoring is necessarily case- and fact-specific. Because the Order here is much

narrower than in Brown, see 218 F.3d at 419 (prohibiting any discussion

“intended to influence public opinion regarding the merits of th[e] case”), and

any analogous suspension here would not be “feasibl[e],” and would instead “be

the equivalent of no Order at all,” Trump, 2023 WL 8813752, at *20, the decision

here does not conflict with the result in Brown.

      Nor does it conflict with the result in Ford. There, the district court

(1) failed to make any findings about whether the fairness and integrity of the

proceedings were threatened by the defendant’s extrajudicial speech, Ford, 830

F.2d at 600; (2) failed to consider any “less burdensome alternatives,” id.; and

(3) imposed a “broad ‘no discussion-of-the-case’ order,” id. at 598, that

prevented the defendant even “from calling a press conference” to explain his

position on “the minimum wage,” id. at 605 (Nelson, J., concurring). By

contrast, the district court here (1) found “that some of [the defendant]’s speech

poses a significant and imminent threat to the fair and orderly adjudication of

the criminal proceeding against him,” Trump, 2023 WL 8813752, at *13;

(2) found that “[n]o less-speech-restrictive alternative could viably protect”

against this threat, id. at *19; and (3) imposed an Order that, as modified by this


                                        12
USCA Case #23-3190      Document #2033815          Filed: 12/31/2023   Page 18 of 24



Court, narrowly restricts certain prejudicial speech while leaving the defendant

ample room to defend himself and criticize the prosecution while running for

office. The two decisions do not conflict.

      B.    The Court’s decision does not conflict with First Amendment
            cases drawn from unrelated contexts.

      The defendant asserts that the Court’s decision conflicts with Supreme

Court cases applying the First Amendment, including cases describing the value

of political and campaign-related speech generally (Pet. 6-9) and cases discussing

the heckler’s veto doctrine (Pet. 10-12). But his reliance on these cases elides the

fact that this appeal “involves the confluence of two paramount constitutional

interests: the freedom of speech guaranteed by the First Amendment and the

federal courts’ vital Article III duty to ensure the fair and orderly administration

of justice in criminal cases.” Trump, 2023 WL 8813752, at *1 (emphasis added).

For while “[f]reedom of speech is a bedrock constitutional right” and “‘the

essence of self-government,’” id. at *6 (quoting Snyder v. Phelps, 562 U.S. 443,

452 (2011)), courts also “have an ongoing obligation to ensure that speech about

a criminal case does not ‘divert the trial from the very purpose of a court

system[,]’ which is ‘to adjudicate controversies, both criminal and civil, in the

calmness and solemnity of the courtroom according to legal procedures,’” id. at

*8 (quoting Sheppard v. Maxwell, 384 U.S. 333, 350-51 (1966)).




                                        13
USCA Case #23-3190     Document #2033815          Filed: 12/31/2023   Page 19 of 24



      Accordingly, the relevant question is not whether any of the defendant’s

speech is protected by the First Amendment. This Court (like the district court)

repeatedly recognized that much of it is protected. Id. at *1, *6-*7, *10-*11, *18,

*21, *23, *27.     The question is how to balance those First Amendment

protections against the countervailing need to protect the criminal-justice

process. The defendant, however, continues to “give[] no inch to” the latter

concern. Id. at *12. He likewise “fails to account for the difference between trial

participants and nonparticipants.” Id. And as the Court recognized, his position

is fatally undermined by his concession that the bail condition prohibiting him

from contacting known witnesses outside the presence of counsel “is ‘completely

consistent with’ the First Amendment because of his status as an indicted

defendant”—even though that bail condition qualifies as a “straightforward

prior restraint on his speech” that does not clearly fall within the incitement

doctrine or any other First Amendment exception. Id. at *10 (quoting Oral Arg.

Tr. 31:13-32:1).

      The defendant cannot show error by insisting that a similar restriction

imposed on a non-trial-participant in an unrelated context would implicate, for

example, the heckler’s veto doctrine (though, as the Court noted, his invocation

of that doctrine also fails on its own terms, id. at *17-*18). Instead, he must

show that the Court failed to strike the appropriate balance when weighing these


                                        14
USCA Case #23-3190      Document #2033815          Filed: 12/31/2023   Page 20 of 24



paramount interests. But his “refus[al] to argue for any such weighing” of

interests at all, id. at *12, precludes such a showing.

       C.    The Court’s assessment of the factual record does not warrant
             further review.

       The defendant contends (Pet. 12-13) that, in assessing the factual record,

the Court failed to demand the requisite “solidity of evidence.” As noted, this

Court applied the “most demanding scrutiny,” Trump, 2023 WL 8813752, at

*11, and found that standard met by record evidence showing the defendant’s

“documented pattern of speech and its demonstrated real-time, real-world

consequences,” id. at *15.

       The defendant has “gone after known and potential witnesses,” including

his former Vice President and Chief of Staff, and told another potential witness

that he “‘shouldn’t [testify]’” before a grand jury in a matter involving

overlapping facts. Id. at *13. He has “lashed out at government officials closely

involved in the criminal proceeding” and even spoken publicly about their

family members. Id. He has “repeatedly attacked both the presiding judge and

his law clerk in a New York state-law lawsuit.” Id. at *14. And these examples

come on the heels of similar attacks on public servants in the wake of the 2020

election. Id. These attacks “have real-world consequences” that have turned

lives “upside down,” id. at *13-*14, going far beyond mere “heckl[ing]” (Pet. 12,

17).

                                         15
USCA Case #23-3190     Document #2033815         Filed: 12/31/2023   Page 21 of 24



      This Court therefore correctly held that “the record amply supports” the

district court’s “factual finding that, ‘when Defendant has publicly attacked

individuals, including on matters related to this case, those individuals are

consequently threatened and harassed.’” Id. at *14 (quoting Order at 2). That

fact-bound holding does not conflict with any decision by the Supreme Court or

any other court and does not warrant further review.

      II. Panel Rehearing Is Unwarranted

      The defendant separately seeks panel rehearing (Pet. 13-17), on the

ground that the Court’s decision “overlook[ed] or misapprehend[ed]” material

points of fact and law, Fed. R. App. P. 40(a)(2). Panel rehearing is unwarranted.

      The defendant asserts that the Court overlooked his contention that when

he posted to social media the day after his initial appearance, “IF YOU GO

AFTER ME, I’M COMING AFTER YOU!” he was merely referring “to

contemporaneous reports that the Koch brothers were funding PACs against

him.” Pet. 13-14. And he speculates (Pet. 14) that when, the following day, his

supporter made a racist death threat to the presiding district judge, she may have

been “inspired by” watching the Special Counsel’s press conference announcing

the indictment. The Court did not err by declining to credit these claims.

      The defendant emphasizes that, when he accused the former Vice

President of “‘go[ing] to the Dark Side’ and of ‘mak[ing] up stories about’ the



                                       16
USCA Case #23-3190     Document #2033815          Filed: 12/31/2023   Page 22 of 24



events of January 6, 2020,” Trump, 2023 WL 8813752, at *13, the former Vice

President was “a rival candidate for the Republican nomination” who was

fundraising off of the dispute, Pet. 14-15. The defendant does not explain which

of these facts the Court overlooked, see Trump, 2023 WL 8813752, at *21, much

less how they were material to its holding.

      Finally, the defendant claims that the Court “assume[d]” that he “has no

valid interest in speaking about prosecutors other than the Special Counsel” or

“about the Special Counsel’s ‘family members.’” Pet. 15-16. In fact, the Court

recognized that defendants “have especially strong interests in commenting,

within reasonable bounds, on prosecutors’ use of their power,” and it

“recalibrat[ed]” the district court’s order by “adding a mens rea requirement” to

“appropriately balance the court’s institutional interests and the free speech

values at stake.” Trump, 2023 WL 8813752, at *26-*27.1 The defendant cannot

show error, and panel rehearing is unwarranted.




      1
        The Court noted that if the defendant has “reasonable concerns about
the impartiality or actions of court or prosecutorial staff,” he is free to raise
“those concerns in a motion filed with the court.” Id. at *18 n.13. That approach
would permit any claim of “influence” or “bias,” Pet. 15-16, to be subject to
adversarial testing, rather than resting on mischaracterization and innuendo.

                                       17
USCA Case #23-3190    Document #2033815        Filed: 12/31/2023   Page 23 of 24



                              CONCLUSION

      The Court should deny the petition for rehearing.

                                        Respectfully submitted,


 J.P. COONEY                            JACK SMITH
 Deputy Special Counsel                 Special Counsel

 MICHAEL R. DREEBEN                     MOLLY GASTON
 RAYMOND N. HULSER                      THOMAS P. WINDOM
 Counselors to the Special Counsel      Senior Assistant Special Counsels

 JAMES I. PEARCE                        CECIL W. VANDEVENDER
 JOHN M. PELLETTIERI                    Assistant Special Counsel
 Assistant Special Counsels             U.S. Department of Justice
                                        950 Pennsylvania Ave., N.W.
                                        Rm. B-206
                                        Washington, D.C. 20530




 December 31, 2023




                                      18
USCA Case #23-3190    Document #2033815          Filed: 12/31/2023   Page 24 of 24



                 CERTIFICATE OF COMPLIANCE
           WITH TYPEFACE AND LENGTH LIMITATIONS

      1.    This brief contains 3,879 words, excluding the parts of the brief

exempted by Fed. R. App. P. 32(f).

      2.    This brief complies with the typeface requirements of Fed. R. App.

P. 32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because

it has been prepared in proportionally spaced, 14-point serif typeface using

Microsoft Word for Microsoft 365.

                                            /S/ CECIL W. VANDEVENDER
                                            Assistant Special Counsel
                                            U.S. Department of Justice




                                       19
